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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CHARLES E. THORNTON,                            )
                                                 )
               Plaintiff,                        )
                                                 )
 vs.                                             )   Case No. 3:19-cv-01371-SMY
                                                 )
 MARY JO ZIMMER, et al.,                         )
                                                 )
              Defendants.                        )

                                 NOTICE AND ORDER

       This case is before the Court for case management. Defendant Tara Rackley was sent a

request for Waiver of Service of Summons, which was returned executed. Her responsive pleading

was due April 2, 2021. (Doc. 118). To date, Rackley has failed to move, answer, or otherwise

plead in response to the Second Amended Complaint.

       The Clerk of Court must enter default against a defendant who has failed to plead or

otherwise defend. FED.R.CIV.P. 55(a). Accordingly, the Court ORDERS as follows:

          1) The Clerk of Court is DIRECTED to ENTER DEFAULT against Tara

              Rackley in accordance with Federal Rule of Civil Procedure 55(a).

          2) The Clerk of Court is DIRECTED to transmit a copy of this Order and the

              entry of default to Plaintiff and Tara Rackley.

       IT IS SO ORDERED.

       DATED: May 12, 2021

                                                     s/ Staci M. Yandle_________
                                                     STACI M. YANDLE
                                                     United States District Judge
